Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                International Orange Spa, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2421 Larkspur Landing Circle
                                  Suite 43                                                        65 Hermit Lane
                                  Larkspur, CA 94939                                              Kentfield, CA 94904
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Marin                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.internationalorange.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




              Case: 20-30812               Doc# 1       Filed: 10/11/20            Entered: 10/11/20 15:49:57                   Page 1 of 46
Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
Debtor    International Orange Spa, Inc.                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 8121

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known

              Case: 20-30812                Doc# 1           Filed: 10/11/20           Entered: 10/11/20 15:49:57                       Page 2 of 46
Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
Debtor   International Orange Spa, Inc.                                                            Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




             Case: 20-30812                Doc# 1        Filed: 10/11/20             Entered: 10/11/20 15:49:57                     Page 3 of 46
Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
Debtor    International Orange Spa, Inc.                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 11, 2020
                                                  MM / DD / YYYY


                             X   /s/ Melissa Ferst                                                        Melissa Ferst
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Michael St. James                                                     Date October 11, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Michael St. James
                                 Printed name

                                 St. James Law, P.C
                                 Firm name

                                 22 Battery Street, Suite 888
                                 San Francisco, CA 94111
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (415) 391-7568                Email address      michael@stjames-law.com

                                 95653 CA
                                 Bar number and State




              Case: 20-30812             Doc# 1         Filed: 10/11/20             Entered: 10/11/20 15:49:57                    Page 4 of 46
Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
 Fill in this information to identify the case:

 Debtor name         International Orange Spa, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 11, 2020                        X /s/ Melissa Ferst
                                                                       Signature of individual signing on behalf of debtor

                                                                       Melissa Ferst
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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            Case: 20-30812                    Doc# 1            Filed: 10/11/20             Entered: 10/11/20 15:49:57          Page 5 of 46
 Fill in this information to identify the case:
 Debtor name International Orange Spa, Inc.
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                      Check if this is an
                                                CALIFORNIA
 Case number (if known):                                                                                                                               amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                         Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                      is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                      unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                      disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                              Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                  partially secured          of collateral or setoff
 Cross River Bank                Bankruptcy/Loss                 SBA Loan made                                                                                            $562,607.00
 Attn: Bankruptcy                Mitigation                      through the
 400 Kelby St.                                                   Paycheck
 14th Floor                      (201) 808-7000                  Protection
 Fort Lee, NJ 07024                                              Program (PPP).
 Gift Certificates               N/A                             Unliquidated gift       Unliquidated                                                                   $1,400,000.00
 Various Holders                                                 certificates
                                 N/A
                                 N/A
 Markel Corporate                Marcia Adams                    Worker's                Disputed                                                                           $14,765.00
 Headquarters                                                    Compensation
 Attn: Bankruptcy                Marcia.Adams@                   insurance
 4521 Highwoods                  Markel.com                      classification/rate
 Parkway                                                         increase.
 Glen Allen, VA                  (804) 217-8746
 23068
 U.S. Small Business            Bankruptcy Dept.    Economic Injury                                                  $149,900.00                         $0.00              $75,900.00
 Administration                                     Disaster Loan
 Attn: EIDL Loans               disastercustomerser secured by a
 455 Market St. suite           vice@sba.gov        blanket lien.
 600
 San Francisco, CA              (415) 744-6820
 94105

 Vera Cort,                      Mark R. Meyer,                  Lease rejection         Unliquidated                                                                     $350,000.00
 Trustee/Landlord                Esq;                            damages re: 2044        Disputed
 757 3rd Avenue                  mm@losch-ehrlich.               Fillmore St. 2nd
 San Francisco, CA               com                             Floor, San
 94189                                                           Francisco, CA
                                 cortpropertiesvc@               94115.
                                 gmail.com;
                                 cortproperties@gm
                                 ail.com
                                 (415) 684-8885




Official form 204                                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Fill in this information to identify the case:

 Debtor name            International Orange Spa, Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           756,842.79

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           756,842.79


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           149,900.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $        1,424,981.53

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,051,983.48


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           2,626,865.01




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
             Case: 20-30812                             Doc# 1                Filed: 10/11/20                         Entered: 10/11/20 15:49:57                                   Page 7 of 46
 Fill in this information to identify the case:

 Debtor name         International Orange Spa, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                $500.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                    Wells Fargo Bank: PO Box 6995,
           3.1.     Portland, OR 97228                                      Business Checking               5250                                    $49,844.04



                    Wells Fargo Bank: PO Box 6995,
           3.2.     Portland, OR 97228                                      Business Savings                6773                                  $612,573.75



                    Bank of Marin Bancorp: 504 Redwood
           3.3.     Blvd, Novato, CA 94947                                  Business Checking               9901                                     $2,500.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                   $665,417.79
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
            Case: 20-30812                    Doc# 1            Filed: 10/11/20      Entered: 10/11/20 15:49:57                  Page 8 of 46
 Debtor           International Orange Spa, Inc.                                              Case number (If known)
                  Name

                    Security deposit held by Lessor, Vera Cort, Trustee/Landlord, 757 3rd Avenue, San
                    Francisco CA 94189; for Debtor's business property where Debtor is Lessee, located at:
           7.1.     2044 Fillmore Street, 2nd floor, San Francisco, CA 94115                                                             $14,448.00


                    Security deposit held by Lessor, Marin County Mart, LLC c/o J.S. Rosenfield & Co., 921
                    Montana Ave, Attn: James S. Rosenfield, Santa Monica CA 90403; for Debtor's business
                    property where Debtor is Lessee, located at: 2421 Larkspur Landing Circle, Ste. 43,
           7.2.     Larkspur, CA 94939.                                                                                                  $10,000.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                          $24,448.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last        Net book value of      Valuation method used     Current value of
                                                      physical inventory      debtor's interest      for current value         debtor's interest
                                                                              (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Retail inventory of
           finished goods for sale
           located at: 2421
           Larkspur Landing Circle,
           Ste. 43, Larkspur, CA
           94939.                                     N/A                              Unknown       Recent cost                         $48,527.00



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                          $48,527.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
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 Debtor         International Orange Spa, Inc.                                                    Case number (If known)
                Name


               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                        Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                    Net book value of      Valuation method used    Current value of
                                                                                  debtor's interest      for current value        debtor's interest
                                                                                  (Where available)

 39.       Office furniture
           Office furniture located at: 2421 Larkspur
           Landing Circle, Ste. 43, Larkspur, CA 94939
           10 Massage Tables: $5,000
           Lounge/Deck funiture: $1,000
           Retail tables and benches: $500                                                 Unknown       Replacement                          $6,500.00



 40.       Office fixtures
           Office fixtures located at: 2421 Larkspur
           Landing Circle, Ste. 43, Larkspur, CA 94939

           Chandelier $3,500
           2 Vintage Lamps $500                                                            Unknown       Replacement                          $4,000.00



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computer equipment located at 2421 Larkspur
           Landing Circle, Ste. 43, Larkspur, CA 94939.

           5 Management Laptops: $3,750
           3 Office Printers: $400
           5 Monitors/Hardrives: $750                                                      Unknown       Replacement                          $3,900.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                $14,400.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 3
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                                                                                   46
 Debtor         International Orange Spa, Inc.                                                 Case number (If known)
                Name


               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                 Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers               debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                       (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     Leased Vehicle: 2019 Mazda CX-5 Utility
                     4D Touring 2WD I4 in good condition;
                     Mileage = 11,000; NADA Average
                     trade-in value = $20,950.00; Vehicle is
                     leased to Debtor who holds legal title
                     only and has no equitable (0%)
                     ownership interest in vehicle; Vehicle
                     will be returned to Lessor upon lease
                     completion.                                                       $20,950.00     Comparable sale                            $0.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Spa equipment located at: 2421 Larkspur
           Landing Circle, Ste. 43, Larkspur, CA 94939

           10 Oxygen Machines : $2,500
           8 Microderm Machines: $400
           10 Steamers: $500
           10 Mag Lights $250                                                           Unknown       Replacement                          $3,650.00




 51.       Total of Part 8.                                                                                                            $3,650.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 4
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
              Case: 20-30812                    Doc# 1               Filed: 10/11/20 Entered: 10/11/20 15:49:57               Page 11 of
                                                                                   46
 Debtor         International Orange Spa, Inc.                                                 Case number (If known)
                Name



        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                                Net book value of      Valuation method used    Current value of
                                                                               debtor's interest      for current value        debtor's interest
                                                                               (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill
            Trade name, goodwill and other intangibles                                  Unknown       N/A                                  Unknown



 66.        Total of Part 10.                                                                                                                 $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 5
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              Case: 20-30812                    Doc# 1               Filed: 10/11/20 Entered: 10/11/20 15:49:57               Page 12 of
                                                                                   46
 Debtor         International Orange Spa, Inc.                                               Case number (If known)
                Name

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership
           Cleaning supplies located at: 2421 Larkspur Landing
           Circle, Ste. 43, Larkspur, CA 94939                                                                                     $250.00


           Office supplies located at: 2421 Larkspur Landing
           Circle, Ste. 43, Larkspur, CA 94939.                                                                                    $150.00


           Miscellaneous personal property of no realizable value
           abandoned in place at San Francisco business location:
           2044 Fillmore Street, 2nd Floor, 94115                                                                                      $0.00




 78.       Total of Part 11.                                                                                                    $400.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                        page 6
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              Case: 20-30812                    Doc# 1               Filed: 10/11/20 Entered: 10/11/20 15:49:57       Page 13 of
                                                                                   46
 Debtor          International Orange Spa, Inc.                                                                      Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $665,417.79

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $24,448.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $48,527.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $14,400.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        $3,650.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                       $400.00

 91. Total. Add lines 80 through 90 for each column                                                            $756,842.79           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $756,842.79




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 7
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               Case: 20-30812                      Doc# 1              Filed: 10/11/20 Entered: 10/11/20 15:49:57                                        Page 14 of
                                                                                     46
 Fill in this information to identify the case:

 Debtor name         International Orange Spa, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                      12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                     Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim              Value of collateral
                                                                                                                                                 that supports this
                                                                                                                    Do not deduct the value      claim
                                                                                                                    of collateral.
 2.1   Bank of Marin                                  Describe debtor's property that is subject to a lien                          $0.00                     $0.00
       Creditor's Name                                Line of Credit issued, yet to be accessed.
       Attn: Bankruptcy
       PO Box L
       Novato, CA 94948-2039
       Creditor's mailing address                     Describe the lien
                                                      Line of Credit
                                                      Is the creditor an insider or related party?
       N/A                                               No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       3/2020                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0304
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       U.S. Small Business
 2.2                                                                                                                       $149,900.00                  $74,000.00
       Administration                                 Describe debtor's property that is subject to a lien
       Creditor's Name                                Economic Injury Disaster Loan secured by a
       Attn: EIDL Loans                               blanket lien.
       455 Market St. suite 600
       San Francisco, CA 94105
       Creditor's mailing address                     Describe the lien
                                                      Secured Loan With Lien On Business Assets
       disastercustomerservice@                       Is the creditor an insider or related party?
       sba.gov                                           No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       6/15/2020                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7910
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
              Case: 20-30812                      Doc# 1             Filed: 10/11/20 Entered: 10/11/20 15:49:57                               Page 15 of
                                                                                   46
 Debtor       International Orange Spa, Inc.                                                    Case number (if known)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.          $149,900.00

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Corporation Service Company
        801 Adlai Stevenson Drive                                                                         Line   2.2
        Springfield, IL 62703-4261

        U.S. Small Business Administration
        Attn: Office of Disaster Assistance                                                               Line   2.2
        14925 Kingsport Road
        Fort Worth, TX 76155

        U.S. Small Business Administration
        Attn: Bankruptcy                                                                                  Line   2.2
        10737 Gateway West, 11300
        El Paso, TX 79935

        U.S. Small Business Administration
        Attn: Director, RMD                                                                               Line   2.2
        409 3rd St., SW
        Washington, DC 20416




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
              Case: 20-30812                      Doc# 1             Filed: 10/11/20 Entered: 10/11/20 15:49:57                          Page 16 of
                                                                                   46
 Fill in this information to identify the case:

 Debtor name         International Orange Spa, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $146.85         $146.85
           Alana Joyful Simpson                                       Check all that apply.
           2182 Vicksburg Ave                                            Contingent
           Oakland, CA 94601                                             Unliquidated
                                                                         Disputed

           Date or dates debt was incurred                            Basis for the claim:
           Various dates                                              PTO/Benefits.

           Last 4 digits of account number N/A                        Is the claim subject to offset?

           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                         Yes


 2.2       Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $167.54         $167.54
           Ashlee French                                              Check all that apply.
           2140 20th St #5                                               Contingent
           San Francisco, CA 94107                                       Unliquidated
                                                                         Disputed

           Date or dates debt was incurred                            Basis for the claim:
           Various dates                                              PTO/Benefits.

           Last 4 digits of account number N/A                        Is the claim subject to offset?

           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                         Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 9
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                    56170                              Best Case Bankruptcy
              Case: 20-30812                    Doc# 1               Filed: 10/11/20 Entered: 10/11/20 15:49:57                             Page 17 of
                                                                                   46
 Debtor       International Orange Spa, Inc.                                                                   Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address                As of the petition filing date, the claim is:                       $0.00    $0.00
          CA Franchise Tax Board                                      Check all that apply.
          Attn: Corporate Bankruptcy                                     Contingent
          PO Box 942857                                                  Unliquidated
          Sacramento, CA 94257-0050                                      Disputed

          Date or dates debt was incurred                             Basis for the claim:
                                                                      N/A

                                                                      Notice only
          Last 4 digits of account number                             Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                         Yes


 2.4      Priority creditor's name and mailing address                As of the petition filing date, the claim is:                     $270.40    $270.40
          Casey Des Rosier                                            Check all that apply.
          604 Bush St #406                                               Contingent
          San Francisco, CA 94108                                        Unliquidated
                                                                         Disputed

          Date or dates debt was incurred                             Basis for the claim:
          Various dates                                               PTO/Benefits.

          Last 4 digits of account number N/A                         Is the claim subject to offset?

          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                         Yes


 2.5      Priority creditor's name and mailing address                As of the petition filing date, the claim is:                       $0.00    $0.00
          EDD-California Employee                                     Check all that apply.
          Development Dept                                               Contingent
          PO Box 826846                                                  Unliquidated
          Sacramento, CA 94246                                           Disputed

          Date or dates debt was incurred                             Basis for the claim:
                                                                      N/A

                                                                      Notice only
          Last 4 digits of account number                             Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                         Yes


 2.6      Priority creditor's name and mailing address                As of the petition filing date, the claim is:                      $76.58    $76.58
          Erin Moens                                                  Check all that apply.
          2291 Guerneville Rd #2                                         Contingent
          Santa Rosa, CA 95403                                           Unliquidated
                                                                         Disputed

          Date or dates debt was incurred                             Basis for the claim:
          Various dates                                               PTO/Benefits.

          Last 4 digits of account number N/A                         Is the claim subject to offset?

          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 2 of 9
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                                                                                   46
 Debtor       International Orange Spa, Inc.                                                                   Case number (if known)
              Name

 2.7      Priority creditor's name and mailing address                As of the petition filing date, the claim is:                          $413.83     $413.83
          Gabriel McVay                                               Check all that apply.
          PO Box 3283                                                    Contingent
          Fairfield, CA 94533                                            Unliquidated
                                                                         Disputed

          Date or dates debt was incurred                             Basis for the claim:
          Various dates                                               PTO/Benefits.

          Last 4 digits of account number N/A                         Is the claim subject to offset?

          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                         Yes


 2.8      Priority creditor's name and mailing address                As of the petition filing date, the claim is:                          $788.40     $788.40
          Gena Price                                                  Check all that apply.
          625 Furlong Rd.                                                Contingent
          Sebastopol, CA 95472                                           Unliquidated
                                                                         Disputed

          Date or dates debt was incurred                             Basis for the claim:
          Various dates                                               PTO/Benefits.

          Last 4 digits of account number N/A                         Is the claim subject to offset?

          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                         Yes


 2.9                                                                                                                                                     $1,400,000.
          Priority creditor's name and mailing address                As of the petition filing date, the claim is:                     $1,400,000.00    00
          Gift Certificates                                           Check all that apply.
          Various Holders                                                Contingent
                                                                         Unliquidated
                                                                         Disputed

          Date or dates debt was incurred                             Basis for the claim:
          Various dates                                               Unliquidated gift certificates

          Last 4 digits of account number N/A                         Is the claim subject to offset?

          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                         Yes


 2.10     Priority creditor's name and mailing address                As of the petition filing date, the claim is:                            $0.00     $0.00
          Internal Revenue Service                                    Check all that apply.
          Central Insolvency Section                                     Contingent
          PO Box 7346                                                    Unliquidated
          Philadelphia, PA 19101                                         Disputed

          Date or dates debt was incurred                             Basis for the claim:
                                                                      N/A

                                                                      Notice only
          Last 4 digits of account number                             Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 3 of 9
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
              Case: 20-30812                    Doc# 1               Filed: 10/11/20 Entered: 10/11/20 15:49:57                               Page 19 of
                                                                                   46
 Debtor       International Orange Spa, Inc.                                                                   Case number (if known)
              Name

 2.11     Priority creditor's name and mailing address                As of the petition filing date, the claim is:                         $0.00     $0.00
          Internal Revenue Service                                    Check all that apply.
          Centralized Lien Unit Division                                 Contingent
          Cincinnati IRS Campus                                          Unliquidated
          PO Box 145595                                                  Disputed
          Cincinnati, OH 45250-5595
          Date or dates debt was incurred                             Basis for the claim:
                                                                      N/A

                                                                      Notice only
          Last 4 digits of account number                             Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                         Yes


 2.12     Priority creditor's name and mailing address                As of the petition filing date, the claim is:                      $1,861.70    $1,861.70
          Jeff Pontillo                                               Check all that apply.
          1442 A. Walnut St #104                                         Contingent
          Berkeley, CA 94709                                             Unliquidated
                                                                         Disputed

          Date or dates debt was incurred                             Basis for the claim:
          Various dates                                               PTO/Benefits.

          Last 4 digits of account number N/A                         Is the claim subject to offset?

          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                         Yes


 2.13     Priority creditor's name and mailing address                As of the petition filing date, the claim is:                       $314.16     $314.16
          Jenefer Hernandez                                           Check all that apply.
          4308 Jenkins Way                                               Contingent
          Richmond, CA 94806                                             Unliquidated
                                                                         Disputed

          Date or dates debt was incurred                             Basis for the claim:
          Various dates                                               PTO/Benefits.

          Last 4 digits of account number N/A                         Is the claim subject to offset?

          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                         Yes


 2.14     Priority creditor's name and mailing address                As of the petition filing date, the claim is:                     $12,406.52    $12,406.52
          Jennifer Gallegos                                           Check all that apply.
          10 Milland Dr Apt 41                                           Contingent
          Mill Valley, CA 94941                                          Unliquidated
                                                                         Disputed

          Date or dates debt was incurred                             Basis for the claim:
          Various dates                                               PTO/Benefits.

          Last 4 digits of account number N/A                         Is the claim subject to offset?

          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 4 of 9
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              Case: 20-30812                    Doc# 1               Filed: 10/11/20 Entered: 10/11/20 15:49:57                            Page 20 of
                                                                                   46
 Debtor       International Orange Spa, Inc.                                                                   Case number (if known)
              Name

 2.15     Priority creditor's name and mailing address                As of the petition filing date, the claim is:                     $226.56    $226.56
          Kelly Mckonenn                                              Check all that apply.
          11 South Knoll Road                                            Contingent
          Mill Valley, CA 94941                                          Unliquidated
                                                                         Disputed

          Date or dates debt was incurred                             Basis for the claim:
          Various dates                                               PTO/Benefits.

          Last 4 digits of account number N/A                         Is the claim subject to offset?

          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                         Yes


 2.16     Priority creditor's name and mailing address                As of the petition filing date, the claim is:                      $82.95    $82.95
          Maria Cristina Mcilroy                                      Check all that apply.
          2140 20th St #5                                                Contingent
          San Francisco, CA 94107                                        Unliquidated
                                                                         Disputed

          Date or dates debt was incurred                             Basis for the claim:
          Various dates                                               PTO/Benefits.

          Last 4 digits of account number N/A                         Is the claim subject to offset?

          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                         Yes


 2.17     Priority creditor's name and mailing address                As of the petition filing date, the claim is:                     $462.00    $462.00
          Marrisa Carter                                              Check all that apply.
          770 41st Ave                                                   Contingent
          San Francisco, CA 94121                                        Unliquidated
                                                                         Disputed

          Date or dates debt was incurred                             Basis for the claim:
          Various dates                                               PTO/Benefits.

          Last 4 digits of account number N/A                         Is the claim subject to offset?

          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                         Yes


 2.18     Priority creditor's name and mailing address                As of the petition filing date, the claim is:                     $385.40    $385.40
          Muhabere Vila                                               Check all that apply.
          320 Ned's Way                                                  Contingent
          Belvedere Tiburon, CA 94920                                    Unliquidated
                                                                         Disputed

          Date or dates debt was incurred                             Basis for the claim:
          Various dates                                               PTO/Benefits.

          Last 4 digits of account number N/A                         Is the claim subject to offset?

          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 5 of 9
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              Case: 20-30812                    Doc# 1               Filed: 10/11/20 Entered: 10/11/20 15:49:57                         Page 21 of
                                                                                   46
 Debtor       International Orange Spa, Inc.                                                                   Case number (if known)
              Name

 2.19     Priority creditor's name and mailing address                As of the petition filing date, the claim is:                        $2.49     $2.49
          Nancy Chavarria Mata                                        Check all that apply.
          1704 Lincoln Ave #10                                           Contingent
          San Rafael, CA 94901                                           Unliquidated
                                                                         Disputed

          Date or dates debt was incurred                             Basis for the claim:
          Various dates                                               PTO/Benefits.

          Last 4 digits of account number N/A                         Is the claim subject to offset?

          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                         Yes


 2.20     Priority creditor's name and mailing address                As of the petition filing date, the claim is:                      $913.40     $913.40
          Regina Miller                                               Check all that apply.
          1106 Bush. St. #602                                            Contingent
          San Francisco, CA 94109                                        Unliquidated
                                                                         Disputed

          Date or dates debt was incurred                             Basis for the claim:
          Various dates                                               PTO/Benefits.

          Last 4 digits of account number N/A                         Is the claim subject to offset?

          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                         Yes


 2.21     Priority creditor's name and mailing address                As of the petition filing date, the claim is:                     $3,983.69    $3,983.69
          Ryan DeMatteo                                               Check all that apply.
          PO Box 176                                                     Contingent
          San Geronimo, CA 94963                                         Unliquidated
                                                                         Disputed

          Date or dates debt was incurred                             Basis for the claim:
          Various dates                                               PTO/Benefits.

          Last 4 digits of account number N/A                         Is the claim subject to offset?

          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                         Yes


 2.22     Priority creditor's name and mailing address                As of the petition filing date, the claim is:                      $325.43     $325.43
          Sabrina O'Connell                                           Check all that apply.
          1050 Court St #313                                             Contingent
          San Rafael, CA 94901                                           Unliquidated
                                                                         Disputed

          Date or dates debt was incurred                             Basis for the claim:
          Various dates                                               PTO/Benefits.

          Last 4 digits of account number N/A                         Is the claim subject to offset?

          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 6 of 9
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
              Case: 20-30812                    Doc# 1               Filed: 10/11/20 Entered: 10/11/20 15:49:57                           Page 22 of
                                                                                   46
 Debtor        International Orange Spa, Inc.                                                                  Case number (if known)
               Name

 2.23       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                        $310.19     $310.19
            Seda Poghosyan                                            Check all that apply.
            7025 California St #301                                      Contingent
            San Francisco, CA 94121                                      Unliquidated
                                                                         Disputed

            Date or dates debt was incurred                           Basis for the claim:
            Various dates                                             PTO/Benefits.

            Last 4 digits of account number N/A                       Is the claim subject to offset?

            Specify Code subsection of PRIORITY                          No
            unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                         Yes


 2.24       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                        $277.38     $277.38
            Shalaya Cherry                                            Check all that apply.
            1801 East Rimrock Rd.                                        Contingent
            Barstow, CA 92311                                            Unliquidated
                                                                         Disputed

            Date or dates debt was incurred                           Basis for the claim:
            Various dates                                             PTO/Benefits.

            Last 4 digits of account number N/A                       Is the claim subject to offset?

            Specify Code subsection of PRIORITY                          No
            unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                         Yes


 2.25       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $1,566.06    $1,566.06
            Tegan Ford                                                Check all that apply.
            999 Broadway St Apt 8                                        Contingent
            San Francisco, CA 94133                                      Unliquidated
                                                                         Disputed

            Date or dates debt was incurred                           Basis for the claim:
            Various dates                                             PTO/Benefits.

            Last 4 digits of account number N/A                       Is the claim subject to offset?

            Specify Code subsection of PRIORITY                          No
            unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                         Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                          As of the petition filing date, the claim is: Check all that apply.                $562,607.00
           Cross River Bank                                                             Contingent
           Attn: Bankruptcy                                                             Unliquidated
           885 Teaneck Road                                                             Disputed
           Teaneck, NJ 07666
                                                                                    Basis for the claim:     SBA Loan made through the Paycheck Protection
           Date(s) debt was incurred  4/30/2020                                     Program (PPP).
           Last 4 digits of account number 7306
                                                                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 7 of 9
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                    Best Case Bankruptcy
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                                                                                   46
 Debtor       International Orange Spa, Inc.                                                          Case number (if known)
              Name

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $14,765.00
           Markel Corporation                                                   Contingent
           Attn: Bankruptcy                                                     Unliquidated
           4521 Highwoods Parkway
                                                                                Disputed
           Glen Allen, VA 23068
           Date(s) debt was incurred 04/2019
                                                                             Basis for the claim:    Worker's Compensation insurance classification/rate
                                                                             increase.
           Last 4 digits of account number 1012
                                                                             Is the claim subject to offset?         No    Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $124,611.48
           Melissa Ferst                                                        Contingent
           65 Hermit Lane                                                       Unliquidated
           Kentfield, CA 94904                                                  Disputed
           Date(s) debt was incurred     12/2015                             Basis for the claim:    Loan to Debtor
           Last 4 digits of account number    N/A
                                                                             Is the claim subject to offset?         No    Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $350,000.00
           Vera Cort, Trustee/Landlord                                          Contingent
           757 3rd Avenue                                                       Unliquidated
           San Francisco, CA 94189
                                                                                Disputed
           Date(s) debt was incurred 2020
                                                                                             Lease rejection damages re: 2044 Fillmore St. 2nd
                                                                             Basis for the claim:
           Last 4 digits of account number N/A
                                                                             Floor, San Francisco, CA 94115.
                                                                             Is the claim subject to offset?         No    Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1       Cross River Bank
           Attn: Loan Servicing Department                                                            Line     3.1
           400 Kelby Street, 14th Floor
                                                                                                             Not listed. Explain
           Fort Lee, NJ 07024

 4.2       Losch Ehrlich & Meyer, Attorneys at Law
           Attn: Mark R. Meyer, Esq.                                                                  Line     3.4
           750 Battery Street
                                                                                                             Not listed. Explain
           Suite 750
           San Francisco, CA 94111

 4.3       Office of Management and Budget
           Attn: SBA Desk Officer                                                                     Line     3.1
           New Executive Office Building
                                                                                                             Not listed. Explain
           Rm. 10202
           Washington, DC 20503

 4.4       U.S. Small Business Administration
           Attn: Director, RMD                                                                        Line     3.1
           409 3rd St., SW
                                                                                                             Not listed. Explain
           Washington, DC 20416

 4.5       U.S. Small Business Administration
           Attn: PPP Loans                                                                            Line     3.1
           455 Market St. suite 600
                                                                                                             Not listed. Explain
           San Francisco, CA 94105


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 8 of 9
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                                                                                   46
 Debtor       International Orange Spa, Inc.                                                     Case number (if known)
              Name

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                  1,424,981.53
 5b. Total claims from Part 2                                                                       5b.   +   $                  1,051,983.48

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                    2,476,965.01




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 9 of 9
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                                                                                   46
 Fill in this information to identify the case:

 Debtor name         International Orange Spa, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.        State what the contract or                   120 month Commercial
             lease is for and the nature of               Lease that began
             the debtor's interest                        4/1/2016 for Debtor's
                                                          business property
                                                          where Debtor is
                                                          Lessee, located at:
                                                          2421 Larkspur Landing
                                                          Circle, Ste. 43,
                                                          Larkspur, CA 94939.
                                                          Monthly contract rent =
                                                          $17,476.83; Lessor
                                                          holds a security
                                                          deposit in the amount
                                                          of $10,000.00.

                                                          Rent payments are in
                                                          arrears dating back to
                                                          03/01/2020; Past due
                                                          amount through
                                                          10/1/2020 rent =
                                                          $115,573.18.                 Marin County Mart, LLC
                  State the term remaining                5 years 6 months             c/o J.S. Rosenfield & Co.
                                                                                       921 Montana Ave
             List the contract number of any                                           Attn: James S. Rosenfield.
                   government contract       N/A                                       Santa Monica, CA 90403




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
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                                                                                   46
 Debtor 1 International Orange Spa, Inc.                                                      Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.2.        State what the contract or                   36 month Vehicle lease
             lease is for and the nature of               that began 09/2019;
             the debtor's interest                        Monthly contract pmt. =
                                                          $336.76; No arrears.
                                                          Leased Vehicle: 2019
                                                          Mazda CX-5 Utility 4D
                                                          Touring 2WD I4 in good
                                                          condition; Mileage =
                                                          11,000; NADA Average
                                                          trade-in value =
                                                          $20,950.00.

                                                          Vehicle is leased to
                                                          Debtor who holds legal
                                                          title only and has no
                                                          equitable (0%)
                                                          ownership interest in
                                                          vehicle; Vehicle will be
                                                          returned to Lessor
                                                          upon lease completion;
                                                          Lease to be assumed.
                  State the term remaining                1 year 11 months            Mazda Capital Services
                                                                                      Attn: Bankruptcy
             List the contract number of any                                          PO Box 78058
                   government contract       Mazda acct. # = x6185                    Phoenix, AZ 85062


 2.3.        State what the contract or                   120 month Commercial
             lease is for and the nature of               Lease extension that
             the debtor's interest                        began 1/1/2018
                                                          (Original lease began
                                                          2/21/2013 and was
                                                          extended on 4/21/2017)
                                                          for Debtor's business
                                                          property where Debtor
                                                          is Lessee, located at:
                                                          2044 Fillmore Street,
                                                          2nd floor, San
                                                          Francisco, CA 94115.
                                                          Monthly contract rent =
                                                          $13,358.00; Lessor
                                                          holds a security
                                                          deposit in the amount
                                                          of $14,448.00; Rent
                                                          payments are in arrears
                                                          and Debtor wishes to
                                                          reject lease.
                  State the term remaining                8 years 2 months
                                                                                      Vera Cort, Trustee/Landlord
             List the contract number of any                                          757 3rd Avenue
                   government contract       N/A                                      San Francisco, CA 94118




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 2 of 2
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                                                                                   46
 Fill in this information to identify the case:

 Debtor name         International Orange Spa, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                        Name                       Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                       State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                       State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                       State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                       State      Zip Code




Official Form 206H                                                                Schedule H: Your Codebtors                                  Page 1 of 1
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                                                                                   46
 Fill in this information to identify the case:

 Debtor name         International Orange Spa, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $514,767.00
       From 1/01/2020 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $4,003,186.00
       From 1/01/2019 to 12/31/2019
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $3,928,735.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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                                                                                   46
 Debtor       International Orange Spa, Inc.                                                            Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               Wells Fargo Business Correspondence                         10/7/2020:                       $22,622.50           Secured debt
               Attention: Bankruptcy                                       $8,000.00                                             Unsecured loan repayments
               PO Box 29482                                                10/4/2020:                                            Suppliers or vendors
               Acct # ending 6712                                          $4,512.51                                             Services
               Phoenix, AZ 85038                                           09/1/2020:
                                                                           $4,161.55                                             Other Business credit card
                                                                           08/3/2020:                                          payments
                                                                           $5,948.44
       3.2.
               Wells Fargo Business Correspondence                         10/07/2020:                      $43,376.17           Secured debt
               Attn: Bankruptcy                                            $15,000.00                                            Unsecured loan repayments
               PO Box 29482                                                10/04/2020:                                           Suppliers or vendors
               Acct # ending 8539                                          $8,683.62                                             Services
               Phoenix, AZ 85038                                           09/24/2020:
                                                                           $5,000.00                                             Other Business credit card
                                                                           09/14/2020:                                         payments
                                                                           $5,000.00
                                                                           09/01/2020:
                                                                           $6,316.91
                                                                           08/03/2020:
                                                                           $3,375.64
       3.3.
               Employees of International Orange Inc.                      10/10/2020:                     $139,457.04           Secured debt
               Various Listed on Schedule E                                $47,580.41                                            Unsecured loan repayments
                                                                           (Prepayment                                           Suppliers or vendors
                                                                           of 10/25/2020                                         Services
                                                                           payroll)
                                                                           10/10/2020:                                           Other Employee Payroll
                                                                           $35,081.72
                                                                           (Regular
                                                                           payroll for
                                                                           9/30/2020
                                                                           pay period
                                                                           end date)
                                                                           09/25/2020:
                                                                           $21,637.49
                                                                           (Regular
                                                                           payroll for
                                                                           9/15/2020
                                                                           pay period
                                                                           end date)
                                                                           09/10/2020:
                                                                           $35,157.42
                                                                           (Regular
                                                                           payroll for
                                                                           08/31/2020
                                                                           pay period
                                                                           end date)

                                                                           *Only
                                                                           payments in
                                                                           last 90 days.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 2
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                                                                                   46
 Debtor       International Orange Spa, Inc.                                                            Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Melissa Ferst                                               10/1/2019 -                     $147,829.40           Salary: $30,502.47
               65 Hermit Lane                                              9/30/2020                                             Dividend Distributions:
               Kentfield, CA 94904                                                                                               $89,000.00
               President/100% Shareholder                                                                                        Health Insurance Benefits paid:
                                                                                                                                 $ 28,266.93
                                                                                                                                 Simple IRA Company Match:
                                                                                                                                 $60.00

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    (JESSIE) MAE SAWYER VS.                           Money; Suing for           Superior Court of California                 Pending
               INTERNATIONAL ORANGE                              "Abuse of at will          San Francisco County                         On appeal
               SPA, INC.                                         employment                 400 McCallister Street
                                                                                                                                         Concluded
               CSM20862409                                       clause"                    San Francisco, CA 94102

                                                                 *Judgment in
                                                                 favor of
                                                                 Defendant/Debtor;
                                                                 Balance owed to
                                                                 Plantiff = $0.00


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.




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 Debtor        International Orange Spa, Inc.                                                               Case number (if known)



           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

                Recipient's name and address                     Description of the gifts or contributions                  Dates given                        Value

       9.1.     Cashmere Foundation                              Cash donations when affordable.
                314 Carrera Drive
                Mill Valley, CA 94941                                                                                       Intermittently               $4,420.00

                Recipients relationship to debtor
                None


       9.2.     Reed School Foundation                           Cash donations when affordable
                1199 Tiburon Blvd.
                Belvedere Tiburon, CA 94920                                                                                 Intermittently                 $519.95

                Recipients relationship to debtor
                None


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                   lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                         If not money, describe any property transferred          Dates               Total amount or
                 the transfer?                                                                                                                              value
                 Address
       11.1.     St. James Law, P.C.
                 Michael St. James, Esq.
                 22 Battery Street, Suite 888                         Attorney fees: $5,000.00 paid pre-filing                 09/25/2020;
                 San Francisco, CA 94111                              Attorney Retainer: $50,000.00                            10/8/2020               $55,000.00

                 Email or website address
                 michael@stjames-law.com

                 Who made the payment, if not debtor?




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Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
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 Debtor        International Orange Spa, Inc.                                                             Case number (if known)



                 Who was paid or who received                         If not money, describe any property transferred          Dates            Total amount or
                 the transfer?                                                                                                                           value
                 Address
       11.2.     Bachecki, Crom & Co., LLP
                 Jay D. Crom, CPA/ABV/CFF,
                 CIRA, CFE
                 400 Oyster Point Blvd.
                 Ste. 106
                 South San Francisco, CA                              Bankruptcy/Tax Accountant Retainer fee:
                 94080                                                $5,000.00                                                10/8/2020                 $5,000.00

                 Email or website address
                 jcrom@bachcrom.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                        Describe any property transferred                Dates transfers          Total amount or
                                                                                                                       were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                   Date transfer         Total amount or
                Address                                          payments received or debts paid in exchange              was made                       value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     2044 Fillmore Street                                                                                      06/01/2001 - 10/7/2020
                 2nd Floor
                 San Francisco, CA 94115

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.




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                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    American Funds                                                                             EIN: XX-XXXXXXX

                    Has the plan been terminated?
                       No
                       Yes


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                         Names of anyone with               Description of the contents            Do you still
                                                                       access to it                                                              have it?
                                                                       Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                       Names of anyone with               Description of the contents            Do you still
                                                                       access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
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    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                      Court or agency name and           Nature of the case                            Status of case
       Case number                                                     address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                           Governmental unit name and             Environmental law, if known               Date of notice
                                                                       address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                           Governmental unit name and             Environmental law, if known               Date of notice
                                                                       address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
            None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Kopsa Otte Associates LLC                                                                                                  1/2010 - present
                    Certified Public Accountant
                    306 E 7th St.
                    York, NE 68467
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       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.2.       Ryan DeMatteo                                                                                                        01/2015 - present
                    Bookkeeper/International Orange Employee
                    2421 Larkspur Landing Circle
                    Ste. 43
                    Larkspur, CA 94939

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Melissa Ferst                                  65 Hermit Lane                                      President                             100%
                                                      Kentfield, CA 94904



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

                Name and address of recipient                    Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value


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               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1                                                      Salary: $30,502.47
       .                                                         Dividend Distributions: $89,000.00
               Melissa Ferst                                     Health Insurance Benefits paid: $
               65 Hermit Lane                                    28,266.93                                               10/1/2019 -       Owner's
               Kentfield, CA 94904                               Simple IRA Company Match: $60.00                        9/30/2020         compensation

               Relationship to debtor
               President/100% Shareholder


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation
    American Funds                                                                                             EIN:        Simple IRA Plan EIN = XX-XXXXXXX
    PO BOX 6007
    Indianapolis, IN 46206-6007

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         October 11, 2020

 /s/ Melissa Ferst                                                        Melissa Ferst
 Signature of individual signing on behalf of the debtor                  Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                                      Northern District of California
 In re      International Orange Spa, Inc.                                                                            Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                              Security Class Number of Securities                        Kind of Interest
 business of holder
 Melissa Ferst                                                        Common Stock 100%                                          Ownership
 65 Hermit Lane
 Kentfield, CA 94904


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date October 11, 2020                                                         Signature /s/ Melissa Ferst
                                                                                            Melissa Ferst

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               UNITED STATES BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF CALIFORNIA

 In re                                                                                 Case No.
           International Orange Spa, Inc.




                                                 Debtor(s).                   /


                                                             CREDITOR MATRIX COVER SHEET


        I declare that the attached Creditor Mailing Matrix, consisting of 6 sheets, contains the correct,
complete and current names and addresses of all priority, secured and unsecured creditors listed in debtor's
filing and that this matrix conforms with the Clerk's promulgated requirements.

DATED: October 11, 2020


                                                                                  /s/ Michael St. James
                                                                                  Signature of Debtor's Attorney or Pro Per Debtor




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    Alana Joyful Simpson
    2182 Vicksburg Ave
    Oakland, CA 94601



    Ashlee French
    2140 20th St #5
    San Francisco, CA 94107



    Bank of Marin
    Attn: Bankruptcy
    PO Box L
    Novato, CA 94948-2039



    CA Franchise Tax Board
    Attn: Corporate Bankruptcy
    PO Box 942857
    Sacramento, CA 94257-0050



    Casey Des Rosier
    604 Bush St #406
    San Francisco, CA 94108



    Corporation Service Company
    801 Adlai Stevenson Drive
    Springfield, IL 62703-4261



    Cross River Bank
    Attn: Bankruptcy
    885 Teaneck Road
    Teaneck, NJ 07666



    Cross River Bank
    Attn: Loan Servicing Department
    400 Kelby Street, 14th Floor
    Fort Lee, NJ 07024




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EDD-California Employee Development Dept
PO Box 826846
Sacramento, CA 94246



Erin Moens
2291 Guerneville Rd #2
Santa Rosa, CA 95403



Gabriel McVay
PO Box 3283
Fairfield, CA 94533



Gena Price
625 Furlong Rd.
Sebastopol, CA 95472



Gift Certificates
Various Holders



Internal Revenue Service
Central Insolvency Section
PO Box 7346
Philadelphia, PA 19101



Internal Revenue Service
Centralized Lien Unit Division
Cincinnati IRS Campus
PO Box 145595
Cincinnati, OH 45250-5595



Jeff Pontillo
1442 A. Walnut St #104
Berkeley, CA 94709




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Jenefer Hernandez
4308 Jenkins Way
Richmond, CA 94806



Jennifer Gallegos
10 Milland Dr Apt 41
Mill Valley, CA 94941



Kelly Mckonenn
11 South Knoll Road
Mill Valley, CA 94941



Losch Ehrlich & Meyer, Attorneys at Law
Attn: Mark R. Meyer, Esq.
750 Battery Street
Suite 750
San Francisco, CA 94111



Maria Cristina Mcilroy
2140 20th St #5
San Francisco, CA 94107



Marin County Mart, LLC
c/o J.S. Rosenfield & Co.
921 Montana Ave
Attn: James S. Rosenfield.
Santa Monica, CA 90403



Markel Corporation
Attn: Bankruptcy
4521 Highwoods Parkway
Glen Allen, VA 23068



Marrisa Carter
770 41st Ave
San Francisco, CA 94121




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Mazda Capital Services
Attn: Bankruptcy
PO Box 78058
Phoenix, AZ 85062



Melissa Ferst
65 Hermit Lane
Kentfield, CA 94904



Muhabere Vila
320 Ned's Way
Belvedere Tiburon, CA 94920



Nancy Chavarria Mata
1704 Lincoln Ave #10
San Rafael, CA 94901



Office of Management and Budget
Attn: SBA Desk Officer
New Executive Office Building
Rm. 10202
Washington, DC 20503



Regina Miller
1106 Bush. St. #602
San Francisco, CA 94109



Ryan DeMatteo
PO Box 176
San Geronimo, CA 94963



Sabrina O'Connell
1050 Court St #313
San Rafael, CA 94901




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Seda Poghosyan
7025 California St #301
San Francisco, CA 94121



Shalaya Cherry
1801 East Rimrock Rd.
Barstow, CA 92311



Tegan Ford
999 Broadway St Apt 8
San Francisco, CA 94133



U.S. Small Business Administration
Attn: EIDL Loans
455 Market St. suite 600
San Francisco, CA 94105



U.S. Small Business Administration
Attn: Director, RMD
409 3rd St., SW
Washington, DC 20416



U.S. Small Business Administration
Attn: PPP Loans
455 Market St. suite 600
San Francisco, CA 94105



U.S. Small Business Administration
Attn: Office of Disaster Assistance
14925 Kingsport Road
Fort Worth, TX 76155



U.S. Small Business Administration
Attn: Bankruptcy
10737 Gateway West, 11300
El Paso, TX 79935




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Vera Cort, Trustee/Landlord
757 3rd Avenue
San Francisco, CA 94189




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                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for International Orange Spa, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 October 11, 2020                                                       /s/ Michael St. James
 Date                                                                   Michael St. James
                                                                        Signature of Attorney or Litigant
                                                                        Counsel for International Orange Spa, Inc.
                                                                        St. James Law, P.C
                                                                        22 Battery Street, Suite 888
                                                                        San Francisco, CA 94111
                                                                        (415) 391-7568 Fax:(415) 391-7568
                                                                        michael@stjames-law.com




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